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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF FLORIDA
                      PENSACOLA DIVISION

RE: 3M COMBAT ARMS                  ) Case No. 3:19md2885
EARPLUG PRODUCTS LIABILITY          )
LITIGATION,                         )
                                    )
                                    ) Judge M. Casey Rodgers
                                    )
This Document Relates to:           ) Magistrate Judge Gary R. Jones
                                    )
Clarence Sampson, 8:20-cv-01136     )
                                    )
Shane Guzman, 9:20-cv-14500         )
                                    )
Damon Biddle, 9:20-cv-11451         )
                                    )
Brian Powell, 8:20-cv-00561         )
                                    )
Mark Mozzoni, 7:20-cv-90982         )
                                    )
Luke Fout, 7:20-cv-79670            )
                                    )
Craig Hall, 7:20-cv-74126           )
                                    )
Rocky Vick, 7:20-cv-81234           )
                                    )
Raquel Hendricks, 8:20-cv-98926     )
                                    )
Billy Lee, 8:20-cv-11318,           )
____________________________________)

   DEFENDANT 3M CO.’S MOTION FOR ORDER TO SHOW CAUSE
         BASED ON WAVE 3 PLAINTIFFS’ FAILURE TO
                COMPLY WITH DISCOVERY




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       Defendant 3M Co.1 moves the Court under Federal Rules of Civil Procedure

16(f)(1)(C) and 37(b)(2)(A) to order the Wave 3 Plaintiffs identified herein to show

cause as to why their cases should not be dismissed with prejudice for their failure

to comply with discovery deadlines, in violation of Wave Order #3 (Case

Management Order (“CMO”) 47 (ECF No. 3126)), as modified by CMO 51 (ECF

No. 3402).

I.     FACTUAL BACKGROUND

       Under Wave Order #3, all Wave 3 fact discovery must be completed by

November 4, 2022. See CMO 51 at 3 (ECF No. 3402). Accordingly, the Court

ordered each Wave 3 Plaintiff to, inter alia, timely respond to written discovery and

appear for a deposition. See id. (setting deadlines); CMO 47 (ECF No. 3126)

(providing guidance and setting parameters). The below Plaintiffs’ failure to comply

with these requirements is now at issue.




       1
        On July 26, 2022, Defendants 3M Occupational Safety LLC, Aero LLC,
Aearo Holding LLC, Aearo Intermediate LLC, and Aearo Technologies LLC filed
voluntary petitions for relief under chapter 11, title 11 of the U.S. Code in the U.S.
Bankruptcy Court for the Southern District of Indiana. See In re Aearo Technologies
LLC, et al., Case No. 22-02890-JJG-11 (Bankr. S.D. Ind.) (Jointly Administered).
Those debtors do not join in this Motion due to their filing for bankruptcy and
operation of the automatic stay, see 11 U.S.C. § 362. 3M reserves all rights with
respect to its Motion for Declaratory and Injunctive Relief (Adv. Proc. No. 22-
50059, ECF No. 2) and any appeal of the Bankruptcy Court’s August 26 Order.

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      A.     Eight Wave 3 Plaintiffs failed to appear for or schedule their
             depositions, in violation of Wave Order #3.

      Under Wave Order #3, as modified by CMO 51, all Wave 3 Plaintiffs were

required to appear for a deposition by October 11, 2022. See CMO 47 §§ I.9, II.1

(ECF No. 3126) (outlining parameters of Plaintiffs’ depositions); CMO 51 at 2 (ECF

No. 3402) (setting deadline for Plaintiffs’ depositions). The Plaintiffs discussed

below either failed to appear for their properly set and noticed depositions or failed

to schedule their depositions, thereby indicating that they will not comply by the

October 11 deadline—which is in just eight days.2

             1.    Plaintiff Clarence Sampson (8:20-cv-01136) failed to appear
                   for his deposition.

      The parties agreed that Plaintiff Clarence Sampson would appear for his

deposition on September 12, 2022, at 10:00 AM, via Zoom. Ex. 1, Sampson Sept.

12 Not. of Dep. On that date, counsel for Defendant and Plaintiff appeared, but

Plaintiff did not. Ex. 2, Sampson Cert. of Nonappearance. Despite “numerous

attempts,” Plaintiff’s counsel was unable to contact Plaintiff to ascertain why he


      2
        In addition to the Plaintiffs discussed in Section I.A., Wave 3 Plaintiffs
Shane Gillespie (3:22-cv-02739), Benjamin Joy (7:20-cv-81234), Bryan Harshman
(7:20-cv-74447), and Mitchell Gregory (9:20-cv-08597) failed to appear for and/or
schedule their depositions. Those Plaintiffs are not at issue on this Motion because
they are currently subject to this Court’s Order to Show Cause for their failure to
produce online records, in violation of Wave Order #3. Order (ECF No. 3480). 3M
reserves the right to move for an order to show cause why those cases should not be
dismissed for the additional reason of their failure to appear for or schedule their
depositions.

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failed to appear. See Ex. 3, Sampson Emails. Nevertheless, the parties agreed to

tentatively reschedule Plaintiff’s deposition for October 5, 2022, at 10:00 AM, via

Zoom. See id.; Ex. 4, Sampson Oct. 5 Am. Not. of Dep. The week before Plaintiff’s

rescheduled deposition, his counsel advised Defendant’s counsel that she was unable

to contact Plaintiff and therefore could not confirm that he would appear for a

deposition. Ex. 3, Sampson Emails. Accordingly, Plaintiff’s deposition was

cancelled. Id. As of the date of this filing, Plaintiff Sampson has not appeared for a

deposition, in violation of Wave Order #3.

             2.     Plaintiff Shane Guzman (9:20-cv-14500) failed to appear for
                    his deposition.

      The parties agreed that Plaintiff Shane Guzman would appear for his

deposition on September 21, 2022, at 9:00 AM, via Zoom. Ex. 5, Guzman Sept. 21

Not. of Dep. On that date, counsel for Defendant and Plaintiff appeared, but Plaintiff

did not. Ex. 6, Guzman Statement on the Record. Plaintiff’s counsel stated that

Plaintiff “indicated [that] morning that he was not going to make it.” Id. at 5:4-13;

see also id. at 6:20-25 (Defendant’s counsel offering to hold the deposition open for

an hour if Plaintiff would appear). As of the date of this filing, Plaintiff Guzman has

not appeared for a deposition, in violation of Wave Order #3.

             3.     Plaintiff Damon Biddle (9:20-cv-11451) cancelled his
                    deposition and failed to reschedule.




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       The parties agreed that Plaintiff Damon Biddle would appear for his

deposition on September 27, 2022, at 3:00 PM, via Zoom. Ex. 7, Biddle

Confirmation Email; Ex. 8, Biddle Sept. 27 Not. of Dep. Four days before Plaintiff’s

deposition, his counsel notified Defendant’s counsel of the need to cancel and

reschedule due to a “conflict.” Ex. 9, Biddle Cancellation Email. That same day,

Plaintiff’s counsel moved to withdraw, citing an “irrevocable disagreement”

between counsel and Plaintiff and advising the Court that Plaintiff had been provided

with the requisite fourteen-day notice of counsel’s intent to withdraw. Mot. to

Withdraw, ECF No. 21, 9:20-cv-11451, (N.D. Fla. Sept. 23, 2022); see Am. Mot. to

Withdraw, ECF No. 22, 9:20-cv-11451, (N.D. Fla. Sept. 23, 2022); Ex. 10, Biddle

Rescheduling Emails. Plaintiff remains represented by counsel, but his deposition

has not been rescheduled. As of the date of this filing, Plaintiff Biddle has not

appeared for a deposition, in violation of Wave Order #3.

              4.     Plaintiff Brian Powell (8:20-cv-00561)               cancelled    his
                     deposition and failed to reschedule.

       The parties agreed that Plaintiff Brian Powell would appear for his deposition

on September 27, 2022, at 9:00 AM, via Zoom. See Ex. 11, Powell Sept. 27 Not. of

Dep. Yet, on September 26, Plaintiff’s counsel advised of their need to cancel

Plaintiff’s deposition because they were unable to contact Plaintiff. Ex. 12, Powell

Emails. Plaintiff’s counsel later advised Defendant’s counsel that they continued in

their efforts to reach Plaintiff, to no avail. Id. Plaintiff’s deposition therefore has not


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been rescheduled, and he will not appear for a deposition by the October 11 deadline,

in violation of Wave Order #3.

             5.     Plaintiff Mark Mozzoni (7:20-cv-90982) has not scheduled
                    and will not appear for a deposition.

      Defendant’s counsel made repeated efforts to schedule Plaintiff Mark

Mozzoni’s deposition, pursuant to CMO 51 (ECF No. 3402). Ex. 13, Mozzoni

Emails. After Defendant’s counsel’s emails on September 2, September 6,

September 7, September 8, September 9, and September 14, Plaintiff’s counsel

advised that they have lost contact with Plaintiff and are therefore unable to schedule

his deposition. Id. As of the date of this filing, Plaintiff Mozzoni has not scheduled

his deposition and therefore will not appear for a deposition by the October 11

deadline, in violation of Wave Order #3.

             6.     Plaintiffs Luke Fout (7:20-cv-79670) and Craig Hall (7:20-cv-
                    74126) have not scheduled and will not appear for
                    depositions.

      Defendant’s counsel made repeated efforts to schedule Plaintiff Luke Fout’s

and Plaintiff Craig Hall’s deposition, pursuant to CMO 51 (ECF No. 3402). See, e.g.,

Ex. 14, Fout/Hall Aug. 31 Emails; Ex. 15, Fout/Hall Sept. 12, 20 Emails; Ex. 16,

Fout/Hall Sept. 14-15 Emails; Ex. 17, Fout/Hall Sept. 14-20 Emails. Plaintiffs’

counsel has since advised that they have lost contact with both Plaintiffs and are

therefore unable to schedule Plaintiffs’ depositions. See Ex. 18, Fout/Hall/Vick Sept.

22 Email (Defendant’s counsel confirming understanding of lost contact). As of the


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date of this filing, Plaintiffs Fout and Hall have not scheduled their depositions and

therefore will not appear for depositions by the October 11 deadline, in violation of

Wave Order #3.

             7.    Plaintiff Rocky Vick (7:20-cv-81234) has not scheduled and
                   will not appear for a deposition.

      Defendant’s counsel made repeated efforts to schedule Plaintiff Rocky Vick’s

deposition, pursuant to CMO 51 (ECF No. 3402). See, e.g., Ex. 19, Vick Sept. 1

Email; Ex. 20, Vick Sept. 12 Email. Plaintiff’s counsel has since advised that they

have lost contact with Plaintiff and are therefore unable to schedule his deposition.

See Ex. 18, Fout/Hall/Vick Sept. 22 Email (Defendant’s counsel confirming

understanding of lost contact). As of the date of this filing, Plaintiff Vick has not

scheduled his deposition and therefore will not appear for a deposition by the

October 11 deadline, in violation of Wave Order #3.

      B.     Two Wave 3 Plaintiffs failed to respond to Defendant’s written
             discovery requests, in violation of Wave Order #3.

      In Wave Order #3, the Court permitted Defendant to serve written discovery

on all Wave 3 Plaintiffs by July 7, 2022. CMO 47 § I.6 (ECF No. 3126).

Accordingly, Defendant served its Second Set of Interrogatories, Second Set of

Requests for Production, and Second Set of Requests for Admission on all Wave 3

Plaintiffs on July 7, 2022. In light of the agreed-upon extensions for responding to

written discovery, Plaintiff’s Responses were due on September 12, 2022. See CMO



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49 (ECF No. 3352) (extending response deadline by three weeks); CMO 50 (ECF

No. 3391) (extending deadline by one additional week); CMO 51 (ECF No. 3402)

(extending deadline by one additional week). Despite having 88 days to comply, the

Plaintiffs discussed below have not responded to Defendant’s written discovery

requests.

             1.    Plaintiff Raquel Hendricks (8:20-cv-98926) failed to serve
                   responses to Defendant’s Second Set of Interrogatories and
                   Second Set of Requests for Admissions.

      Plaintiff Raquel Hendricks failed to serve responses to Defendant’s Second

Set of Interrogatories and Second Set of Requests for Admissions by the September

12, 2022 deadline. As a courtesy, on September 20, 2022, Defendant’s counsel

notified Plaintiff’s counsel of her noncompliance and asked that she serve responses.

As of the date of this filing, Plaintiff Hendricks has not served responses to written

discovery and thus continues in her noncompliance with Wave Order #3.

             2.    Plaintiff Billy Lee (8:20-cv-11318) failed to serve responses to
                   Defendant’s Second Set of Interrogatories.

      Plaintiff Billy Lee failed to serve responses to Defendant’s Second Set of

Interrogatories by the September 12, 2022 deadline. As a courtesy, on September 20,

2022, Defendant’s counsel notified Plaintiff’s counsel of his noncompliance and

asked that he serve responses by September 22, 2022. Defendant’s counsel followed

up on September 26 and September 28, at which time Plaintiff’s counsel advised

that he would serve discovery responses by September 30, 2022. Ex. 21, Lee Email.


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However, as of the date of this filing, Plaintiff Lee has not served responses to

written discovery and thus continues in his noncompliance with Wave Order #3.

II.     ANALYSIS

        Defendant respectfully asks the Court to exercise its broad discretion to

manage its docket and control discovery3 and order the Plaintiffs discussed above to

show cause why their cases should not be dismissed with prejudice for their failure

to comply with Wave Order #3.

         Courts may impose sanctions, up to and including dismissal, on litigants who

fail to comply with pretrial orders. In re 3M Combat Arms Earplug Prods. Liab.

Litig., No. 3:19-md-2885, 2022 WL 2045350, at *1 (N.D. Fla. May 24, 2022)

(dismissing plaintiffs’ claims with prejudice for their failure to comply with this

Court’s discovery orders and for failing to show good cause for their

noncompliance); Phipps, 8 F.3d at 790 (citing Fed. Rule Civ. P. 37); see also Jan.

21, 2022 Order (ECF No. 2549) (ordering plaintiffs to show cause as to why their

cases should not be dismissed with prejudice for failure to comply with discovery);

Apr. 20, 2022 Order (ECF No. 3027) (same). “This authority has particular

significance in the MDL context” (id.), where the need to move thousands of cases



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         See Phipps v. Blakeney, 8 F.3d 788, 790 (11th Cir. 1993); see also
Phenylpropanolamine (PPA) Prod. Liab. Litig., 460 F.3d 1217 (9th Cir. 2006)
(affirming dismissals of individual cases with prejudice for failure to comply with
case management orders, despite repeated instructions to do so).

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forward in an “organized and efficient manner” demands “strict[] adhere[nce] to

case management rules” (In re Abilify (Aripiprazole) Prod. Liab. Litig., No.

3:16MD2734, 2021 WL 2323733, at *1 (N.D. Fla. May 3, 2021) (Rodgers, J.)

(dismissing plaintiff with prejudice for failure to comply with orders), appeal

dismissed sub nom. Ferguson v. Bristol-Myers Squibb Co., No. 21-11914-AA, 2021

WL 4049327 (11th Cir. Aug. 4, 2021)). As this Court has repeatedly explained:

      Pretrial orders—and the parties’ compliance with those orders and their
      deadlines—are the engine that drives disposition on the merits. A
      [court’s] willingness to resort to sanctions in the event of
      noncompliance can ensure that that the engine remains in tune, resulting
      in better administration of the vehicle of multidistrict litigation.

In re 3M Combat Arms Earplug Prod. Liab. Litig., 2022 WL 2045350, at *1

(citations and internal quotation marks omitted); In re Abilify (Aripiprazole) Prod.

Liab. Litig., 2021 WL 2323733, at *1 (same); see also, e.g., Jan. 21, 2022 Order

(ECF No. 2549) (“As the time for [discovery] compliance has lapsed, the Court finds

it necessary to enter a show cause order in these 23 cases. Failure to comply with the

show cause order will result in dismissal of a case with prejudice.”); Apr. 20, 2022

Order (ECF No. 3027) (“Failure to comply with this Order [to Show Cause regarding

discovery noncompliance] will result in dismissal of a case with prejudice.”).

      Rule 16(f) of the Federal Rules of Civil Procedure authorizes a district court

to employ Rule 37 sanctions where, as here, a party or its attorney “fails to obey a

scheduling or other pretrial order.” Fed. R. Civ. P. 16(f)(1)(C). Dismissal with



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prejudice under Rules 16(f)(1)(C) and 37(b)(2)(A) is an appropriate sanction “when

a party’s failure to comply was willful, intentional, or ‘in flagrant bad faith.’” Haji

v. NCR Corp., 834 F. App’x 562, 563 (11th Cir. 2020) (citation omitted); see Phipps,

8 F.3d at 790 (affirming dismissal where the plaintiff failed to appear for his

deposition); Hashemi v. Campaigner Publications, Inc., 737 F.2d 1538, 1539 (11th

Cir. 1984) (affirming dismissal with prejudice where plaintiff failed to appear for

deposition); Shortz v. City of Tuskegee, Ala., 352 F. App’x 355, 360 (11th Cir. 2009)

(affirming dismissal where plaintiff failure to comply with court orders to provide

discovery); see, e.g., Avila v. Carnival Corp., 2012 WL 5996937, at *1 (S.D. Fla.

Nov. 30, 2012) (dismissed for plaintiff’s failure to appear for deposition and

scheduled Rule 35 examination); Avila v. Carnival Corp., 2012 WL 5996937, at *1

(S.D. Fla. Nov. 30, 2012) (dismissed where plaintiff failed to appear for deposition).

      Dismissal with prejudice is an appropriate sanction here. There are more than

230,000 cases in this MDL. See Order at 2 (ECF No. 3188) (“As of June 10, 2022,

there were 233,883 plaintiffs in the MDL . . . .”). Plaintiffs were selected for Wave

3 on May 23, 2022, and immediately put on notice that they had certain discovery

obligations, including responding to written discovery requests and appearing for

depositions. CMO 47 (ECF No. 3126). Nevertheless, Plaintiffs continue in their

willful, intentional noncompliance with Wave Order #3.




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       Plaintiffs’ noncompliance not only violates this Court’s Order but also greatly

prejudices Defendant. Wave 3 fact discovery closes in just one month, and Plaintiffs’

noncompliance compromises Defendant’s ability to defend against Plaintiffs’

claims. Specifically, Defendant is unable to comply with its own fact and expert

discovery obligations or meaningfully proceed with filing Daubert and dispositive

motions. Immediate relief is also warranted to avoid further diversion and waste of

the Court’s and Defendant’s resources as they work to efficiently and effectively

manage this litigation.

III.   CONCLUSION

       As set forth above, Plaintiffs have failed to comply with Wave Order #3.

Defendant respectfully requests that the Court order Plaintiffs to show cause as to

why their actions should not be dismissed with prejudice.

DATED: October 3, 2022                 /s/ Kari L. Sutherland
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   CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(B), (C)

      Pursuant to Local Rule 7.1(B), counsel for Defendant certifies that they

conferred with Plaintiffs’ counsel regarding the above noncompliance. To date, the

Plaintiffs identified herein have failed to comply with this Court’s Order.

DATED: October 3, 2022                 /s/ Kari L. Sutherland
                                       Kari L. Sutherland




      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)

      Pursuant to Local Rule 7.1(F), counsel for Defendant certifies that this

memorandum contains 2,643 words, excluding the case style, signature block, and

certificates of compliance with the Local Rules.

DATED: October 3, 2022                 /s/ Kari L. Sutherland
                                       Kari L. Sutherland




                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a copy of the foregoing was filed on the

Court’s CM/ECF system, which will serve all counsel of record.

DATED: October 3, 2022                 /s/ Kari L. Sutherland
                                       Kari L. Sutherland




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